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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                     -v-                                           19-CR-725-3 (JPO)

 DAVID CORREIA,                                                         ORDER
                               Defendant.


J. PAUL OETKEN, District Judge:

       On September 21, 2020, counsel for Defendant David Correia submitted to chambers a

motion to withdraw as counsel for Mr. Correia, with declarations addressing the reasons for their

motion to withdraw. They request that the declarations be filed under seal and ex parte, “as they

pertain to Mr. Correia’s relationship with counsel.”

       Any redaction or sealing of a court filing must be narrowly tailored to serve whatever

purpose justifies the redaction or sealing and must be otherwise consistent with the presumption

in favor of public access to judicial documents. See Lugosch v. Pyramid Co. of Onondaga, 435

F.3d 110, 119-20 (2d Cir. 2006). Counsel’s representation that the declarations “pertain to Mr.

Correia’s relationship with counsel” is insufficient to meet that standard. To the extent that the

declarations include privileged or other confidential communications between counsel and Mr.

Correia, they may properly be redacted. However, the facts that Mr. Correia has not paid his

attorneys’ bills and that he may qualify for court-appointed counsel are not privileged and do not,

in the Court’s view, meet the Lugosch standard.

       Accordingly, counsel for Mr. Correia (1) shall promptly file their motion to withdraw on

the public docket, (2) shall, on or before September 25, 2020, submit to chambers proposed

redactions of their declarations, together with a letter explaining how such redactions satisfy the

Lugosch standard, and (3) shall promptly work with Mr. Correia on the retention of replacement


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counsel and/or preparation of a financial affidavit in support of court-appointed counsel. The

Court will then schedule a conference to address counsel’s motion to withdraw.



       SO ORDERED.

Dated: September 22, 2020
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge




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